  Case 3:14-cr-00298-M         Document 590 Filed 02/23/16     Page 1 of 1              PageID 1998
                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION
                               __________________________________


UNITED STATES OF AMERICA                            )
                                                    )
VS.                                                 )                  CASE NO.: 3:14-CR-298-M (12)
                                                      )
RYAN YARBRO,                                          )
         Defendant.                                   )

                             ORDER DEFERRING ACCEPTANCE
                       OF BOTH THE PLEA, AND THE PLEA AGREEMENT,
                                    UNTIL SENTENCING

       The Court has reviewed the relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation Concerning

Plea of Guilty, of the United States Magistrate Judge, entered February 2, 2016.

       No objections thereto having been filed within fourteen (14) days of service in accordance with

28 U.S.C. § 636(b)(1), the Court defers acceptance of both the plea and the plea agreement until the

date the defendant is set for sentencing.

       The Court accepts the February 2, 2016 Findings of the United States Magistrate Judge that this

matter be set for a hearing before the United States Magistrate Judge who set the conditions of release

for determination of whether it has been clearly shown that there are exceptional circumstances under §

3145(c) why the defendant should not be detained under § 3143(a)(2), and whether it has been shown

by clear and convincing evidence that the defendant is likely to flee or pose a danger to any other

person or the community if released under § 3142(b) or (c),

       SO ORDERED.

       DATED: February 23, 2016.


                                            _________________________________
                                            BARBARA M. G. LYNN
                                            UNITED STATES DISTRICT JUDGE
                                            NORTHERN DISTRICT OF TEXAS
